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                             UNITED STATES DISTRICT COURT
                                        FOR THE
                                 DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,

                                Plaintiff,

                v.                               Criminal No. 1:24-cv-02063-AHA

 2,546,415.01 USDT SEIZED FROM TWO
 BINANCE ACCOUNTS WITH USER
 IDS ENDING IN 9186 AND 5164,

                                Defendant.

                                        PROPOSED ORDER

       UPON CONSIDERATION of the United States’ motion for default judgment, and the

entire record herein, it is hereby

       ORDERED that the United States’ motion is GRANTED; and it is

       further ORDERED, ADJUDGED, AND DECREED that

       1.      Default judgment is hereby entered against all persons or entities claiming an

               interest in the Defendant Property.

       2.      The Defendant property is hereby forfeited to the government.

       3.      This is a final order.




SO ORDERED:




_______________________                      ________________________________________
Dated                                        THE HONORABLE AMIR H. ALI
                                             UNITED STATES DISTRICT JUDGE
